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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

 JEROME MERRIWEATHER,

        Petitioner,

                v.                                         Civil No. 19-cv-1268-JPG
                                                           Criminal No 15-cr-40046-JPG-006
 UNITED STATES OF AMERICA,

        Respondent.

                                              JUDGMENT

       This matter having come before the Court, and the Court having rendered a decision,

       IT IS HEREBY ORDERED AND ADJUDGED that petitioner Jerome Merriweather’s motion

to vacate, set aside or correct his sentence pursuant to 28 U.S.C. § 2255 is denied, that judgment is

entered in favor of respondent United States of America and against petitioner Jerome Merriweather

and that this case is dismissed with prejudice.



DATED: May 31, 2022                           MONICA A. STUMP, Clerk of Court

                                              s/Tina Gray, Deputy Clerk




Approved:      s/ J. Phil Gilbert
               J. PHIL GILBERT
               DISTRICT JUDGE
